        Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 1 of 25



                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA et. al,             Case No. 1:23-cv-10511-WGY

      Plaintiffs,

v.

JETBLUE AIRWAYS CORPORATION, and
SPIRIT AIRLINES, INC.,

      Defendants.
____________________________________/




AMICUS CURIAE BRIEF OF TRANSPORT WORKERS UNION, LOCAL 570, AFL-CIO, IN
                   SUPPORT OF PLAINTIFFS’ POSITION




                                        KATHLEEN M. PHILLIPS, ESQ.
                                        Florida Bar No. 28773
                                        HOLLY E. OLIVA-VAN HORSTEN, ESQ.
                                        Florida Bar No. 57791
                                        Phillips, Richard & Rind, P.A.
                                        9360 S.W. 72 Street, Suite 283
                                        Miami, Florida 33173
                                        (305) 412-8322
             Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 2 of 25




                                                 TABLE OF AUTHORITIES
Cases
California v. Safeway, Inc.,
  651 F.3d 1118 (9th Cir. 2011) .......................................................................................................... 6

Mandeville Island Farms, Inc. v. Am. Crystal Sugar Co.,
 334 U.S. 219 (1948) ......................................................................................................................... 6

NCAA v. Alston,
 141 S.Ct. 2141 (2021) ...................................................................................................................... 6

Todd v. Exxon Corp.,
  275 F.3d 191 (2d Cir. 2001) ........................................................................................................... 18

United States of America v Bertelsmann SE and Co.,
  646 F. Supp. 3d 1 (D.D.C. 2022) .............................................................................................. 5, 13

Vogel v. Am. Soc’y of Appraisers,
  744 F.2d 598 (7th Cir. 1984) .......................................................................................................... 18

Weyerhaeuser Co. v. Ross-Simmons Hardwood Lumber Co.,
 549 U.S. 312 (2007) ....................................................................................................................... 18
Statutes
Clayton Act, 15 U.S.C. § 18 ........................................................................................................... 5, 23
Other Authorities

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  Outcomes, Working Paper (2021) .................................................................................................... 9

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Elena Prager & Matt Schmitt, Consolidation and Wages: Evidence from Hospitals,
  111 Am. Econ. Rev. 397-427 (2018) ............................................................................................... 9

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  and Outside Options, Washington Center for Equitable Growth, (March 2022) ............................. 7

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                                                                       1
            Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 3 of 25




Lina M. Khan, Chair, FTC, “Remarks of Chair Lina M. Khan at the Joint Workshop of the Federal
  Trade Commission and the Department of Justice Making Competition Work: Promoting
  Competition in Labor Markets” (December 26, 2021) ................................................................. 11

Merger Guidelines, U.S. DOJ and the FTC (2010) ...................................................................... 11, 17

Myongjin Kim, Qi Ge, & Donggeun Kim, Mergers and labor market outcomes in the US airline
 industry, 39 Contemporary Econ. Policy. 849-866 (2021) .............................................................. 8

Naidu, Posner, and Weyl (2018) ........................................................................................................ 18

OJ/FTC Horizontal Merger Guidelines, Guidelines § 12 .................................................................. 17

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  132 Harv. L. Rev. 537 (2018) .................................................................................................... 6, 18

Working Paper 24147, National Bureau of Economic Research (Revised February 2019) ................ 8




                                                                    2
            Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 4 of 25



                                                     TABLE OF CONTENTS

I.          STATEMENT OF INTEREST AND INTRODUCTION .................................................... 4

II.         ARGUMENT ........................................................................................................................ 5

      A.    The Impact of the Proposed Acquisition on Spirit Gate Agents and The Aviation
            Employees of Both Carriers Must Be Taken Into Account . ........................................ …..5

            1. The Economic Research Literature Indicates that Mergers between Close Competitors
            are Often Harmful to Workers. ............................................................................................. 6

            2. Federal Antitrust Agencies Have Also Increasingly Recognized the Harm to Workers
            in Mergers. This Important and Requisite Analysis Underscores why This Merger Lessens
            Competition. ........................................................................................................................ 10

            3. Courts Have Followed Suit and Recognized That Labor Considerations in Antitrust
            Analysis. .............................................................................................................................. 13

      B.    Like Customers, Spirit’s Gate Agents (and Other Workers), Will be Roadkill—Additional
            Collateral damage if the Merger is Allowed to Proceed and the Market Becomes Even
            More Highly Concentrated. .................................................................................................16

            1. The Fundamental Economic Principles of Merger Analysis Apply Directly to
            Competition for Workers .................................................................................................... 16

            2.    The Merger Will Illegally Reduce Competition and Harm Gate Agents at FLL ......... 19

            3. Even the Proposed Divestiture—which Will Also Directly Harm Spirit Gate Agents—
            Will Not Cure the Antitrust Violations of the Merger. ....................................................... 21

IV.         CONCLUSION ................................................................................................................... 23

CERTIFICATE OF SERVICE........................................................................................................... 24




                                                                         3
         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 5 of 25



                  I.      STATEMENT OF INTEREST AND INTRODUCTION

       The TRANSPORT WORKERS UNION OF AMERICA, LOCAL 570, AFL-CIO (“TWU

Local 570”) is a transportation union chartered in 1989 that proudly represents airline workers at Fort

Lauderdale-Hollywood International Airport (“FLL”), Miami International Airport (“MIA”), John F.

Kennedy International Airport (“JFK”), LaGuardia Airport (“LGA”) and Raleigh-Durham

International Airport (“RDU”) 1, including hundreds of Guest Service Agents (“Spirit Gate Agents”)

employed by Spirit Airlines, Inc. (“Spirit”) at FLL. These Gate Agents are responsible for assisting

passengers and keeping air travel on schedule and safe. They are the frontline workers who greet and

check-in passengers, assisting with boarding passes and reschedules as customers move through the

airport. As part of the multilayered airline security and safety process at the airport, their importance

cannot be understated. These aviation voices are amongst the very few employees with whom Spirit

passengers actually interact as they travel.

       The Spirit Gate Agents’ careers are also on the chopping block if the proposed acquisition of

Spirit by JetBlue Airways Corporation (“JetBlue”) is approved. Their livelihoods, quality of work

life, and competition within the airline industry are on the line. They have a paramount interest in the

ultimate outcome of this case, and in the preservation of competition within the industry to which

they have dedicated themselves.

       TWU Local 570’s interest in this case cannot be understated. This case will have critical and

potentially severe impacts on workers and their families within what will be a more concentrated

airline industry if the merger is allowed to proceed. The employees are among the most vulnerable,




1
  Along with the Spirit Gate Agents, TWU Local 570 represents Fleet Service Clerks, Aircraft
Maintenance Technicians, Ground Equipment Mechanics, and Inventory Control Clerks who work
in these airports throughout the country.



                                                   4
         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 6 of 25



and just like airline consumers, they stand to lose from this merger. 2 With this interest in mind, TWU

Local 570 files this brief to underscore the labor market that cannot be forgotten in this Court’s

analysis of the anti-competitive effects of the merger.

       For its members and their families, TWU Local 570 has a profound interest in the outcome in

this case. As the legally recognized bargaining agent of the Spirit Gate Agents represented by TWU

Local 570—the employees who could stand to lose the most if the proposed merger proceeds—TWU

Local 570 supports the Plaintiffs’ position to block the proposed merger between Spirit and JetBlue.

                                         II.    ARGUMENT

           A. The Impact of the Proposed Acquisition on Spirit Gate Agents and The Aviation
              Employees of Both Carriers Must Be Taken Into Account.

       According to the Proposed Final Pretrial Order: “The ultimate issue in this case is whether the

Proposed Transaction may substantially lessen competition, in violation of Section 7 of the Clayton

Act, 15 U.S.C. § 18.” ECF No. 191 at 13, ¶ 42. Further, this Court will be deciding “[w]hether,

considering the totality of circumstances and the specific context of the airline industry, the merger

of JetBlue and Spirit is likely to substantially lessen competition.” ECF No. 191 at 11. To make these

determinations, the totality of circumstances must include the impact on the workers who will be

impacted by the proposed merger—like the Spirit Gate Agents filing this amicus brief who have so

much to lose from the reduction in competition.




2
  There are some labor groups that may argue in support of the proposed merger for the workers they
represent because of benefits secured for their members during successful talks with the involved
carriers. However, support for the merger arising out of important side dealings are not relevant to
this Court’s instant antitrust analysis. See United States of America v Bertelsmann SE and Co., 646
F. Supp. 3d 1, 79 (D.D.C. 2022) (“The Court is required to assess the anticompetitive effects of the
merger under the applicable statute and case law, which do not contemplate consideration of the
preferences of the merging parties’ employees and stakeholders, or their distaste for other potential
buyers of the assets in question. The focus of the Court’s inquiry is harm to competition in the relevant
market.”) As will be discussed below, and as advanced in this brief, what is relevant to the antitrust
analysis is concentration in labor and supply markets.

                                                   5
         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 7 of 25



       Antitrust laws reach conduct aimed at not only consumers, but also suppliers. This includes

workers, who are suppliers of labor. As the Supreme Court has noted, in the context of the Sherman

Act, “[t]he statute does not confine its protection to consumers, or to purchasers, or to competitors,

or to sellers. . . The Act is comprehensive in its terms and coverage, protecting all who are made

victims of the forbidden practices by whomever they may be perpetrated.” Mandeville Island Farms,

Inc. v. Am. Crystal Sugar Co., 334 U.S. 219, 235–36 (1948); see also NCAA v. Alston, 141 S.Ct. 2141

(2021) (applying the Sherman Act to protect workers from an employer-side agreement to limit

compensation); California v. Safeway, Inc., 651 F.3d 1118, 1132 (9th Cir. 2011). Nonetheless,

“although product market concentration and labor market concentration are both covered by antitrust

law, product market concentration has historically received a significant amount of attention from

researchers and government officials, while labor market concentration has received hardly any

attention at all.” Suresh Naidu, Eric Posner, & E. Glen Weyl, Antitrust Remedies for Labor Market

Power, 132 Harv. L. Rev. 537, 539–540 (2018).

       While consumers have rightfully been a longtime focus of antitrust protections, they are not

the only consideration. Economists, courts and administrative agencies are increasingly recognizing

that workers are equally worthy of antitrust protection. Analysis and labor considerations under the

antitrust law and the economic theories and evidence in support thereof should be instructive to this

Court. To that end, this brief has been submitted.

  I.   The Economic Research Literature Indicates that Mergers between Close Competitors
       are Often Harmful to Workers.

       In recent years, economists have seriously studied the relationship between competition and

labor outcomes, primarily wages. See Suresh Naidu, Eric Posner, & E. Glen Weyl, Antitrust Remedies

for Labor Market Power, 132 Harv. L. Rev. 537, 539–540 (2018). For example, the entire April 2022




                                                     6
           Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 8 of 25



issue of the well-known Journal of Human Resources was devoted to the topic of “Monopsony in the

Labor Market.” 3

         A key insight highlighted by this research is that many workers may have a large number of

jobs that they could get, but many of these jobs are not relevant in the sense that they are greatly

inferior to the jobs that these workers already have or to other jobs that they could realistically get.

Hence, they do not affect the competitive environment faced by the worker. For example, the fact that

a highly skilled worker in a particular occupation can likely get a job in a fast food restaurant is not

relevant to the competitive environment faced by those workers, because they are unlikely to take

such a job even if conditions in the market for their occupation were to deteriorate substantially.

         In other words, this research indicates that many workers face less competition for their labor

as had previously been believed, because many available jobs are not competitively relevant. In the

past, this point was not widely appreciated. Analysts mistook widespread availability of some jobs

for robust competition among firms offering relevant jobs—which is one reason why labor market

power has previously not received much antitrust attention. This is changing as antitrust economists

conduct more research on the effect of competition on workers.

         A more recent study finds similar results. Gregor Schubert, Anna Stansbury & Bledi Taska,

Working Paper Series: Employer Concentration and Outside Options, Washington Center for

Equitable      Growth,    (March       2022),   https://equitablegrowth.org/working-papers/employer-

concentration-and-outside-options/. Specifically, it finds that moving from the median to 95th

percentile of employer concentration reduces wages by 2.6% on average. Perhaps more importantly,

moving from the median to the 95th percentile of concentration reduces wages by 7.3% for workers

in the lowest quartile of outward occupational mobility (i.e., the lowest tendency to leave that



3
    https://muse.jhu.edu/issue/47580


                                                    7
            Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 9 of 25



occupation for another). These studies collectively provide strong evidence that high market

concentration tends to cause lower wages.

          As Eric Posner, a Distinguished Professor of Law from the University of Chicago, wrote:

“Recent studies have shown that many labor markets are concentrated, and that wages, as one would

predict, are lower in concentrated labor markets than in competitive labor markets. Moreover,

concentration is far more serious in labor markets than in product markets; wage suppression is much

more significant than price inflation.” Eric Posner, Why the FTC Should Focus on Labor Monopsony,

ProMarket       (Nov.    5,   2018),    https://www.promarket.org/2018/11/05/ftc-should-focus-labor-

monopsony/ (citing José Azar, Ioana Marinescu, and Marshall I. Steinbaum, Labor Market

Concentration), Working Paper 24147, National Bureau of Economic Research (Revised February

2019), https://www.nber.org/system/files/working_papers/w24147/w24147.pdf) 4.

          In addition to this empirical research on the general relationship between labor market

concentration and wages, there is also a growing body of empirical research specifically about how

mergers affect workers. Papers in this literature employ a well-established method called “difference-

in-differences” analysis to rigorously study the effect of mergers on wages. The most directly relevant

of these is a recent paper specifically about airline mergers. These papers are the most relevant

empirical evidence for evaluating the merger of Spirit and JetBlue.

          The most directly relevant of these is a recent paper about airline mergers. Myongjin Kim, Qi

Ge, & Donggeun Kim, Mergers and labor market outcomes in the US airline industry, 39

Contemporary Econ. Policy. 849-866 (2021). The airline industry has been characterized by a

significant number of mergers, which provides a strong basis for such a study. 5 The paper finds an



4
   This paper has since been published in the Journal of Human Resources in April 2022.
https://jhr.uwpress.org/content/57/S/S167.
5
    https://www.airlines.org/dataset/u-s-airline-mergers-and-acquisitions/

                                                    8
         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 10 of 25



approximately 5% reduction in the merging airlines' salaries and fringe benefits in the three (3) to

five (5) years following the merger announcements, with a smaller reduction within the first two

years. This effect is larger among large-scale mergers involving major airlines and low cost carriers—

like Spirit and JetBlue.

       Another important paper finds that mergers (across industries) that have positive predicted

impacts in local labor market concentration result in a 2.1% decline in workers’ earnings, with larger

declines in already concentrated markets . David Arnold, Mergers and Acquisitions, Local Labor

Market Concentration, and Worker Outcomes, Working Paper (2021).This analysis is directly

relevant to the proposed merger at bar.

       A third important paper is about the effect of hospital mergers on workers. Elena Prager &

Matt Schmitt, Consolidation and Wages: Evidence from Hospitals, 111 Am. Econ. Rev. 397-427

(2018). The research was published in the American Economic Review, widely regarded as the

flagship journal of the discipline of economics. That research finds that for the top quartile of

concentration-increasing mergers (i.e., the 25% of mergers that increase concentration the most),

wages four years after the merger are 4.0 percent lower for skilled non-health professionals and 6.8

percent lower for nursing and pharmacy workers than they would have been absent the merger. The

paper finds no effect for unskilled hospital workers. This bears out the labor market discussion above

(e.g., hospital nurses who can only perform that occupation in a small number of relatively nearby

hospitals, but not custodians or cafeteria staff who can likely find similar jobs elsewhere). Mergers

have significant effects for workers for whom the merger eliminated one major possible employer out

of a small number of suitable ones. This labor market effect is the possible reality for workers which

would happen if Spirit and JetBlue were allowed to merge. Spirit Gate Agents’ (and other airline

workers’) jobs are specific to airports and that industry, and they can only perform their specific job

at relatively nearby airports.


                                                  9
        Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 11 of 25



       Taken together, this economic literature suggests that workers are harmed by mergers that

substantially reduce competition. This is the setting of the proposed Spirit and JetBlue merger.

Beyond the empiricism of the studies are the real life effects of lower wages and benefits, and

worsening quality of work life on the labor market of these airlines’ workers. These corporate entities

have not adequately studied or addressed this dynamic.

 II.   Federal Antitrust Agencies Have Also Increasingly Recognized the Harm to Workers in
       Mergers. This Important and Requisite Analysis Underscores why This Merger Lessens
       Competition.

       The federal antitrust agencies—the Federal Trade Commission (“FTC)” and the United States

Department of Justice (“DOJ”)—have increasingly focused on competition in labor markets as a part

of their merger review. The former Chair of the FTC, Joseph Simons, recognized that “both agencies

[the FTC and the DOJ] are now devoting more attention to competition in labor markets and to how

certain conduct, including mergers, may impact competition in those markets.” Joseph Simons,

Chairman,     FTC,    Keynote      Address    at    American     University     (March     8,   2019),

https://www.ftc.gov/system/files/documents/public_statements/1515179/simons_-

_jon_baker_speech_3-8-19.pdf.

       Lisa Khan, the current chair of the FTC, echoed the increased focus on labor, stating:

       At the FTC, our congressional mandate is to root out unfair methods of
       competition and unfair or deceptive practices in the economy, a mission that
       protects all Americans, including workers. To recalibrate our work to protect
       workers, the agency is building on its existing efforts in several ways.

       First, we are redoubling our commitment to investigating potentially unlawful
       transactions or anticompetitive conduct that harm workers. In particular, we must
       scrutinize mergers that may substantially lessen competition in labor markets,
       recognizing that the Clayton Act’s purview applies to product and labor
       markets alike. Recent scholarship and research—including by many of our
       panelists— has expanded our understanding of the scope of monopsony power in
       labor markets and the magnitude of its effects, insights that we are keen to
       incorporate into our work.




                                                   10
        Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 12 of 25



Lina M. Khan, Chair, FTC, “Remarks of Chair Lina M. Khan at the Joint Workshop of the Federal

Trade Commission and the Department of Justice Making Competition Work: Promoting

Competition         in       Labor        Markets”                   (December         26,      2021),

https://www.ftc.gov/system/files/documents/public_statements/1598791/remarks_of_chair_lina_m_

khan_at_the_joint_labor_workshop_final_139pm.pdf (emphasis added).

       Though labor market effects or mergers had not received much attention from enforcers in the

past, and though the recent research described above provides a strong basis for paying more

attention, this principle is well established. It is discussed in the current DOJ/FTC Horizontal Merger

Guidelines (Guidelines), specifically in Guidelines § 12 (“Mergers of Competing Buyers”), which

says that “[m]ergers of competing buyers can enhance market power on the buying side of the market,

just as mergers of competing sellers can enhance market power on the selling side of the market,”

and that therefore “essentially the same framework” should be applied to monopsony cases as

monopoly      cases.     Merger      Guidelines,        U.S.   DOJ      and      the   FTC     (2010);

https://www.justice.gov/atr/horizontal-merger-guidelines-08192010#12.

       The principle is emphasized even further in the July 2023 Draft Merger Guidelines released

by the DOJ and FTC, which explicitly and directly addressed the potential for harm to labor markets

within the antitrust merger analysis. Draft Merger Guidelines, U.S. DOJ and the FTC at 25-27 (2023);

https://www.justice.gov/d9/2023-07/2023-draft-merger-guidelines_0.pdf (emphasis added) (“Draft

Merger Guidelines”). In the Fact Sheet released by the DOJ and the FTC with the Draft Merger

Guidelines, the agencies noted that “[s]ince 1982, the merger guidelines have devoted increasing

attention to mergers that reduce competition among buyers, including employers as buyers of labor

services. The Draft Merger Guidelines build on this principle and explain that the agencies will

evaluate the impact of a merger on labor as a stand-alone basis to challenge a transaction.” Fact Sheet




                                                   11
        Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 13 of 25



–    2023     Draft     Merger     Guidelines      for    Public     Comment        at    1     (2023),

https://www.ftc.gov/system/files/ftc_gov/pdf/Merger-Guidelines-Fact-Sheet-07-17-2023.pdf.

       According to Section 11 of the Draft Merger Guidelines:

       When a Merger Involves Competing Buyers, the Agencies Examine Whether It
       May Substantially Lessen Competition for Workers or Other Sellers.

       A merger between competing buyers may harm sellers just as a merger between
       competing sellers may harm buyers. The same—or analogous—tools used to
       assess the effects of a merger of sellers can be used to analyze the effects of a
       merger of buyers, including employers as buyers of labor. A merger of
       competing buyers can substantially lessen competition by eliminating the
       competition between the merging buyers or by increasing coordination among the
       remaining buyers. It can likewise lead to undue concentration among buyers,
       accelerate a trend towards undue concentration, or entrench or extend the position
       of a dominant buyer. Competition among buyers can have a variety of beneficial
       effects analogous to competition among sellers. For example, buyers may compete
       by expanding supply networks, through transparent and predictable contracting,
       procurement, and payment practices, or by investing in technology that reduces
       frictions for suppliers. In contrast, a reduction in competition among buyers can
       lead to artificially suppressed input prices or purchase volume, which in turn
       reduces incentives for suppliers to invest in capacity or innovation. The level of
       concentration at which competition concerns arise may be lower in buyer markets
       than in seller markets, given the unique features of certain buyer markets.

       Labor markets are important buyer markets. The same general concerns as in
       other markets apply to labor markets where employers are the buyers of labor
       and workers are the sellers. The Agencies will consider whether workers face
       a risk that the merger may substantially lessen competition for their labor.
       Where a merger between employers may substantially lessen competition for
       workers, that reduction in labor market competition may lower wages or slow
       wage growth, worsen benefits or working conditions, or result in other
       degradations of workplace quality. When assessing the degree to which the
       merging firms compete for labor, any one or more of these effects may
       demonstrate that substantial competition exists between the merging firms.

       Labor markets frequently have characteristics that can exacerbate the competitive
       effects of a merger between competing employers. For example, labor markets
       often exhibit high switching costs and search frictions due to the process of finding,
       applying, interviewing for, and acclimating to, a new job. Switching costs can also
       arise from investments specific to a type of job or a particular geographic location.
       Moreover, the individual needs of workers may limit the geographical and work
       scope of the jobs that are competitive substitutes.

       In addition, finding a job requires the worker and the employer to agree to the
       match. Even within a given salary and skill range, employers often have specific

                                                  12
         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 14 of 25



       demands for the experience, skills, availability, and other attributes they desire in
       their employees. At the same time, workers may seek not only a paycheck but also
       work that they value in a workplace that matches their own preferences, as different
       workers may value the same aspects of a job differently. This matching process
       often narrows the range of rivals competing for any given employee.

       In light of their characteristics, labor markets are often relatively narrow.

       The features of labor markets may in some cases put firms in dominant positions.
       To assess this dominance in labor markets (see Guideline 7), the Agencies often
       examine the merging firms’ power to cut or freeze wages, exercise increased
       leverage in negotiations with workers, or generally degrade benefits and working
       conditions without prompting workers to quit.

       If the merger may substantially lessen competition or tend to create a monopoly in
       upstream markets, that loss of competition is not offset by purported benefits in a
       separate downstream product market. Because the Clayton Act prohibits mergers
       that may substantially lessen competition or tend to create a monopoly in any line
       of commerce and in any section of the country, a merger’s harm to competition
       among buyers is not saved by benefits to competition among sellers. That is, a
       merger can substantially lessen competition in one or more buyer markets,
       seller markets, or both, and the Clayton Act protects competition in any one
       of them.

       Just as they do when analyzing competition in the markets for products and
       services, the Agencies will analyze labor market competition on a case-by-case
       basis.

Draft Merger Guidelines, at 25-27. These guidelines underscore the growing focus on the impact of

a merger on workers. The Spirit employees have not seen any adequate attention to these markets

by the carrier here as they rush to close this deal.

III.   Courts Have Followed Suit and Recognized That Labor Considerations in Antitrust
       Analysis.

       Courts have also recently reinforced that antitrust laws protect competition for the acquisition

of goods and services from workers. In a landmark case most directly on point, just last year, the

District Court of Appeal for the District of Columbia upheld the Department of Justice’s suit to block

Penguin-Random House’s proposed acquisition of Simon & Schuster. United States of America v

Bertelsmann SE and Co., 646 F. Supp. 3d 1, 80 (D.D.C. 2022) (“Penguin-Random House”),. The

Court found that the proposed merger among direct competitors unlawfully restrained competition in

                                                       13
         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 15 of 25



violation of Section 7 of the Clayton Act in the context of the book publishing industry—a highly

concentrated industry like the airline industry at issue in the case before this Court. The court found

that there were five publishing houses that controlled the bulk of the market for anticipated top selling

books, referred to as the “Big Five,” and that a merger between two of the five would inevitably

reduce competition for the right to publish anticipated top selling books to the detriment of their

authors and sellers. Id. at 3, 80. Specifically, the court found that “the amount [of an advance] paid

[to an author] is “inexorably determined by competition,” and that such competition would be harmed

by the merger of two direct competitors where authors would receive lower advances of anticipated-

top selling books and less favorable contract terms. Id. at 11, 51-54. In short, the impact on the authors

(the workers in that case) were a pivotal focus of the court’s analysis.

        The principles and analysis articulated in that decision dealing with a different industry, but

one with similar concentration to the airline industry, 6 are relevant to this dispute and can be

summarized as follows:

    •   When reviewing whether a merger unlawfully restrains competition in violation of the
        Clayton Act the initial task is to analyze market concentration. The government must
        demonstrate that such a merger would produce a “firm controlling an undue percentage
        share of the relevant market and would result in a significant increase in the concentration of
        firms in the market.” Id. at 43. Competition is always higher when there are a greater
        number of sellers, none of which have a significant share of the market…Id.

    •   The substantial market share of the combined entity created by the proposed merger leads to
        a strong presumption of anti-competitiveness. Id. at 45. A trend toward concentration in the
        industry, whatever it’s causes, is “a highly relevant factor in deciding how substantial the
        anti-competitive effect of a merger may be.” Id.



6
 Like the “Big Five” in the publishing industry, the airline industry currently has a big four (Delta,
United, American, Southwest) along with several smaller niche carriers (JetBlue, Spirit, Frontier,
Alaska, Hawaiian, Sun Country) which provide some level of competition to the mega-carriers. . The
proposed merger of JetBlue and Spirit will convert the big four into a big five, thereby further
consolidating the industry. As discussed further below, an anti-competitive concern with the proposed
merger is that there are specific routes and specific airports where the head-to-head competition
between the two airlines is much stronger. For example at FLL the combined share of flights is 46%.


                                                   14
        Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 16 of 25



   •   Stability of the market shares of the primary participants over time is an important factor.
       Specifically, in the Penguin-Random House case the fact that the aggregate market share of
       the big-five publishers remained flat reinforces the presumption of anticompetitive effects
       based on market concentration. Id.

   •   A merger can enhance market power just by eliminating competition between the merging
       parties, even if the merger otherwise has no effect on the behavior of other firms in the
       marketplace. Further, unilateral effects can be especially acute in a “highly concentrated
       market.” Id. at 48.

   •   In seeking to block a merger the government can also highlight a likelihood of “coordinated
       effects” which occurs when market participants mutually decrease competition in the
       relevant marketplace leading to higher prices for customer. Id. at 57.

   •   If the government is successful in demonstrating that a merger will cause increased
       concentration in an already concentrated market, the burden then shifts to the defendants to
       provide evidence of “structural market barriers to collusion” specific to the industry that
       would defeat the “ordinary presumption of collusion. Id. at 58.

   •   In reviewing whether there was undue market concentration in the publishing industry, the
       court also observed that “new entrants to the market would presumably give authors
       alternative outlets to publish their books, thereby preventing the merged entity from
       lowering advances.” The court further noted that “the existence and significance of barriers
       to entry are frequently…crucial considerations in a rebuttal analysis.” Id. at 70 (citation
       omitted).

   •   The court emphasized that “the best proof that would-be new competitors face formidable
       barriers to entry is the stability of market shares in the industry. The court specifically noted
       that no publisher had entered the marketplace and become a competitor against the Big Five
       publishers in the last thirty years. Id. at 72.

   •   The court is only required to assess the anticompetitive effects of the merger under the
       applicable statute and case law which doesn’t take into consideration the preferences of the
       merging parties’ employees. Id. at 79.

       As the Penguin-Random House case reinforced, mergers between dominant companies can

reduce wages and harm workers by eliminating employer competition for workers. While that case

involved authors, the ruling made clear that antitrust law is not limited to its impact on consumers.

Instead, echoing the same principles as the FTC and the DOJ, the court recognized that the Clayton

Act protects workers from lessened competition in the labor market, including cases with increased

market concentration (like the proposed merger before this Court).



                                                  15
          Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 17 of 25



         Like the economists, the federal antitrust agencies, and the Penguin-Random House court, this

Court should consider the anticompetitive effects on workers, including the Spirit Gate Agents, in the

totality of the circumstances for this industry-changing potential merger. The analysis will reveal the

serious market risks faced by these aviation workers.

            B. Like Customers, Spirit’s Gate Agents (and Other Workers), Will be Roadkill—
               Additional Collateral damage if the Merger is Allowed to Proceed and the Market
               Becomes Even More Highly Concentrated.

         1. The Fundamental Economic Principles of Merger Analysis Apply Directly to
            Competition for Workers

         The most fundamental economic principle of merger analysis is that mergers eliminate the

competitive constraint that each of the merging firms had previously imposed upon the other. Joseph

Farrell & Carl Shapiro, Antitrust Evaluation of Horizontal Mergers: An Economic Alternative to

Market       Definition,    The     B.E.     Journal     of     Theoretical     Economics       (2010),

https://faculty.haas.berkeley.edu/shapiro/alternative.pdf. (recognizing "merging firms no longer

compete with each other to attract customers: this generically encourages higher prices."). This is

equally true of competition for customers and competition for workers. Moreover, the underlying

mechanism is the same, as described presently.

         Before the merger, the terms that each firm offers to its customers, or to its workers, are

influenced by the existence of the other as an independent competitor: the desire of each firm to win

customers/workers away from the other (or to avoid losing them to the other) causes each firm to

offer better terms than they would absent that competition. In contrast, the merged firm owns both of

the previously-independent firms (which can be thought of as “divisions” of the merged firm). For

the merging firm, “losing” customers/workers from one of its divisions to the other is much less costly

than losing them entirely, as would have been the case pre-merger. For this reason, the merged firm

has less incentive to offer favorable terms to its customers/workers than the individual firms did prior

to the merger. See id.

                                                  16
         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 18 of 25



       The magnitude of the effect from this lost competition is greater when that competition was

more consequential to begin with: the stronger the competition between the merging firms, and the

weaker the competition with non-merging firms, the greater the harmful effect, and vice-versa. The

strength of competition between two firms is driven by the extent to which customers/workers regard

the products/jobs of the merged firms as close substitutes for each other. Firms offering similar

products are close competitors for customers, and firms offering similar jobs are close competitors

for workers. 7

       This conclusion that the fundamental economic principles underlying merger analysis are the

same for effects on workers as for the effects on customers is well-established and uncontroversial

textbook economics. It is discussed in the DOJ/FTC Horizontal Merger Guidelines, 8 specifically in

Guidelines § 12 ("Mergers of Competing Buyers"), which says “[m]ergers of competing buyers can

enhance market power on the buying side of the market, just as mergers of competing sellers can

enhance market power on the selling side of the market,” and that therefore “essentially the same

framework” should be applied to monopsony cases as monopoly cases. Merger Guidelines, U.S. DOJ

and the FTC (2010); https://www.justice.gov/atr/horizontal-merger-guidelines-08192010#12.

       The reason for this is straightforward. A merger is harmful to customers when customers

regard the merging firms’ products as close substitutes and when there are not too many other close

substitute products. Similarly, a merger is harmful to workers when workers regard the merging firms’

jobs as close substitutes and when there are not too many other close substitute jobs. 9


7
  This doesn’t mean that the harmful effect of any particular merger must be the same for customers
and for workers. Two firms could have closely-competing products but not closely-competing jobs,
or vice-versa. The point is that the fundamental mechanism is the same.
8
  https://www.justice.gov/atr/horizontal-merger-guidelines-08192010#12.
9
 There is one important reason why mergers may harm workers that does not apply to customers. A
customer can generally choose from among all available products; sellers will sell to any willing
buyer. In contrast, a worker cannot generally choose from all available jobs; the firm may not be
hiring (or may only be hiring with some probability at some time in the future, rather than immediately

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         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 19 of 25



       As discussed above, despite this close conceptual similarity, the great majority of DOJ/FTC

merger enforcement deals with harm to customers, not to workers. Suresh Naidu, Eric Posner, & E.

Glen Weyl, Antitrust Remedies for Labor Market Power, 132 Harv. L. Rev. 537, 539–540 (2018).

One reason for this is that there was a widespread sense that there are often many more potential

employers for a worker than there are sellers of a particular product. That is, it seemed that outside of

extreme examples such as a one-employer “company town,” most workers have many possible firms

for which to work, making a merger between any two of them unlikely to lead to substantial harm.

But as discussed above, recent evidence has shown this to be largely incorrect. Even if a worker has

many jobs that they could take, there may be only a few jobs that are competitively relevant. Once

this is understood, the idea that there can be harm from a merger between firms offering two of only

a small number of relevant jobs.

       In addition to the principles described above, mergers can also be harmful if they facilitate

collusion 10. To sustain collusion, all of the colluding firms must successfully coordinate their actions,

which is generally easier when there are fewer firms. This concern is exacerbated by a long history

of collusion in the airline industry. Even when protected by a union, workers get better terms when

there is more competition for their labor.




and with certainty), or may not wish to make an offer to that worker. See Naidu, Posner, and Weyl
(2018), supra.
10
   See also Todd v. Exxon Corp., 275 F.3d 191, 201 (2d Cir. 2001) (Sotomayor, J.) (recognizing that
“a horizontal conspiracy among buyers to stifle competition”—there, a conspiracy among oil
companies to suppress the compensation of their employees—“is as unlawful as one among sellers”);
Vogel v. Am. Soc’y of Appraisers, 744 F.2d 598, 601 (7th Cir. 1984) (“Just as a sellers’ cartel enables
the charging of monopoly prices, a buyers’ cartel enables the charging of monopsony prices; and
monopoly and monopsony are symmetrical distortions of competition from an economic
standpoint.”), quoted in Weyerhaeuser Co. v. Ross-Simmons Hardwood Lumber Co., 549 U.S. 312,
321 (2007).

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         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 20 of 25



       2. The Merger Will Illegally Reduce Competition and Harm Gate Agents at FLL

       As to the JetBlue-Spirit merger on Passenger Service Agents at FLL (among other airports),

the question is whether jobs at those two airlines are close enough competitors for some category of

workers, and jobs at other airlines are distant enough competitors for those workers, for the merger

to cause substantial harm.

       It is clear that this merger would substantially increase concentration at FLL. Every Gate

Agent loses one major possible employer. The magnitude of the harm depends on the extent to which

other jobs, including similar jobs at other airports, or different jobs altogether, are close substitutes

for those jobs at FLL. 11 It is implausible that most Gate Agents regard those alternatives as very close

substitutes for their current jobs at FLL. This suggests that the merger will likely cause some decrease

in competition, which will harm workers—and possibly a much bigger harmful effect than that may

be forced upon the aviation workers.

       This point can be demonstrated quantitatively. In June 2023, Spirit’s passenger share was

26.52% and JetBlue’s was 19.48%, 12 for a combined share of 46.00%. 13 The pre-merger Herfindahl–




11
   It is obvious that there are many jobs that may be readily available that are not close substitutes for
FLL Passenger Service Agent jobs. For example many of these workers could likely get jobs in fast
food restaurants, but those jobs are likely considered to be so much worse that no such worker would
accept them even if the wages at their current job were to decrease substantially. Such jobs are simply
not relevant to the competitive environment in which FLL Spirit Gate Agents operate. The question
therefore is whether there are other jobs that FLL Gate Agents regard as close substitutes, and
therefore may be relevant to the competitive environment. It is unlikely that these substitutes are so
readily available as to make a large reduction in competition for Gate Agents jobs irrelevant.
12
   https://www.transtats.bts.gov/airports.asp?20=E
13
  For the DOJ analysis of the effects on customers, the key issue is competition over routes. In
contrast, for airport-based workers the key issue is competition within airports.


                                                   19
         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 21 of 25



Hirschman Index (HHI) is 1599, and the post-merger HHI is 2632, 14 for a change of 1033. 15 The

Guidelines establish that a market with a post-merger HHI greater than 2500 is a “Highly

Concentrated Market.” The Guidelines also establish that “Mergers resulting in highly concentrated

markets that involve an increase in the HHI of more than 200 points will be presumed to be likely to

enhance market power.” The new Draft Merger Guidelines tighten these thresholds to a post-merger

HHI of 1800 and a change of 100. Draft Merger Guidelines, U.S. DOJ and the FTC at 6. This market

exceeds that 2500 threshold, 16 and it vastly exceeds the 200 point increase (1033 vs. 200). Moreover,

recent economic research has established that the change in HHI is much more predictive of economic

harm than is the level. Volker Nocke & Michael D. Whiston, Concentration Thresholds for Horizontal

Mergers,            American             Economic              Review             (Jun.           2022),

https://www.aeaweb.org/articles?id=10.1257/aer.20201038.

       Under this definition the merger is strongly presumed to be harmful, which means that the

market would have to be much broader in order for the merger not to harm Gate Agents at FLL. That

is unlikely.17 In short, competition will decrease as a result of the merger, and workers like the Spirit



14
   The HHI calculation conservatively assumes that the “Other” airlines comprising 15.82% of
passengers are all very small, so that the sum of their squared shares is zero. A more realistic
assumption would increase the post-merger HHI (but would not have any effect on the change in
HHI).
15
   As explained in the Guidelines, “The HHI is calculated by summing the squares of the individual
firms’ market shares, and thus gives proportionately greater weight to the larger market shares.” The
pre-merger HHI is based on the JetBlue and Spirit shares separately, and the post-merger HHI is based
on the combined firm’s share; the fact that the shares are squared is what causes the HHI to increase.
16
  These calculations are based on the assumption that “Gate Agents at FLL” is a relevant market as
defined by the Guidelines.
17
   It is important to emphasize that the relatively modest national shares of JetBlue and Spirit are not
relevant to this inquiry. The question is whether the merging firms are close substitutes for each other
for particular categories of workers in particular locations where those two firms represent a
substantial fraction of total employment.


                                                   20
        Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 22 of 25



Gate Agents will likely be harmed. With decreased competition—and power saturated by the merger

of two direct competitors—it is the workers who will suffer.

       As discussed above, concentration in labor markets generally, and competition-reducing

mergers in particular, decrease wages. They also likely increase the ability for collusion. There will

undoubtedly be job loss for Gate Agents at FLL, including the Spirit Gate Agents specifically. There

are the obvious effects of job loss, the harm from which could be exacerbated by the high cost of

living in South Florida. In sum, with less competition in the market, workers will have less

opportunity to move to another job, which will likely result in a reduction in pay with limited prospect

of recoupment.

       As the FTC and DOJ Draft Merger Guidelines recognize: “Where a merger between

employers may substantially lessen competition for workers, that reduction in labor market

competition may lower wages or slow wage growth, worsen benefits or working conditions, or result

in other degradations of workplace quality.” Draft Merger Guidelines, U.S. DOJ and the FTC at 26.

This is in line with the economic analysis: the less competition there is, the less favorable are the

terms that will be offered to employees. Here, where the proposed merger of Spirit and JetBlue would

only increase the concentration of an already concentrated market, the Gate Agents and other workers

face all of these harms. With the combination of JetBlue and Spirit, things will only get worse for the

workers who lose competition in the labor market.

       3. Even the Proposed Divestiture—which Will Also Directly Harm Spirit Gate
          Agents—Will Not Cure the Antitrust Violations of the Merger.

       JetBlue has purported to address these concerns by means of divestiture agreements.

Specifically:

                JetBlue and Frontier have executed a divestiture agreement, pursuant to
                which Frontier agreed to purchase Spirit holdings at LaGuardia Airport if the
                proposed transaction is consummated, subject to necessary approvals and
                other conditions of the divestiture agreement. . . .


                                                  21
         Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 23 of 25



               JetBlue and Allegiant have executed a divestiture agreement, pursuant to
               which Allegiant agreed to purchase Spirit holdings at Boston Logan
               International Airport and Newark International Airport (with the exception
               of one gate), and five JetBlue gates and related ground facilities at the Fort
               Lauderdale-Hollywood International Airport if the proposed transaction is
               consummated, subject to the conditions of that agreement, including receipt
               of necessary approvals and other conditions of the divestiture agreement.”


ECF No. 191 at 7.

       However, these proposed divestitures are not sufficient to resolve the competitive concerns.

These proposed transactions cannot remedy anti-competitiveness and seem only to be political and

cosmetic gestures. One difficulty that arises in many divestiture scenarios is whether the divestiture

buyer is capable of operating the assets in a way that fully replaces the pre-merger competition. 18 In

the case of FLL, there is a more fundamental problem. Under the proposed divestiture, JetBlue would

divest five gates at FLL. But under the merger it would acquire all of Spirit’s gates, which includes

ten preferential gates and three shared gates. That is, even assuming that the divestiture buyer was

suitable, the divestiture would include less than half of the gates, and an unknown share of other

relevant assets.

       For the Spirit Gate Agents in particular—those who work at the gates to be divested—this

only makes matters worse. It increases the likelihood of job loss, in a market where there is one less

employer (and thus less opportunity to find a relevant comparable job). These workers are looking

down the barrel of another airline merger—lost jobs, reduced wages, worsened working conditions,




18
  That is questionable here where JetBlue’s own announcement includes that it would have to work
with the Broward count Aviation Department to “facilitate Allegiant’s ULCC growth at FLL using
these gates.” https://news.jetblue.com/latest-news/press-release-details/2023/JetBlue-and-Allegiant-
Announce-Divestiture-Agreement-in-Connection-with-JetBlues-Combination-with-
Spirit/default.aspx



                                                  22
        Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 24 of 25



and challenges to their families’ futures. Cheerleading, marketing, and slogans are no substitute to

rigorous empirical analysis and will not remedy an anti-competitive merger and acquisition.

                                       IV.    CONCLUSION

       TWU Local 570 urges this Court to block the merger of Spirit and JetBlue, which will harm

workers like the Spirit Gate Agents and substantially lessen competition, in violation of Section 7 of

the Clayton Act, 15 U.S.C. § 18.

Dated: October 5, 2023                                Respectfully submitted,


                                                      /s/ Kathleen M. Phillips
                                                      KATHLEEN M. PHILLIPS, ESQ.
                                                      Florida Bar No. 28773
                                                      HOLLY E. OLIVA-VAN HORSTEN, ESQ.
                                                      Florida Bar No. 57791
                                                      Phillips, Richard & Rind, P.A.
                                                      9360 S.W. 72 Street, Suite 283
                                                      Miami, Florida 33173
                                                      (305) 412-8322
                                                      Email: kphillips@phillipsrichard.com
                                                              holly@phillipsrichard.com

                                                       /s/ Peter J. Perroni
                                                       Peter J. Perroni, Esquire
                                                       (BBO No. 634716)
                                                       Nolan/Perroni, PC
                                                       73 Princeton Street
                                                       North Chelmsford, MA 01863
                                                       Telephone: 978-454-3800
                                                       Email: peter@nolanperroni.com




                                                 23
          Case 1:23-cv-10511-WGY Document 384 Filed 11/21/23 Page 25 of 25



                                      CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF system will be sent electronically to

 counsel of record for all parties as identified on the Notice of Electronic Filing.


Dated: October 5, 2023                                   BY:     /s/ Peter J. Perroni
                                                                 Peter J. Perroni, Esquire




                                                    24
